            Exhibit 3




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                                                                                       OFFICE OF UNDERGRADUATE ADMISSIONS                                                                     August 2014
         Steve Farmer
        Vice Provost for                                                            UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
        Enrollment EPA




          Barbara Polk                                                            Andrea Felder                                               Allison Legge                          Rebecca Egbert
      Sr Assoc / Deputy Dir                                                         Assoc Dir                                                 Sr Assoc Dir                         Sr Asst Dir, C-STEP
              EPA           ]                                                         EPA                                                          EPA                                    EPA

       Jared Rosenberg                                  Readers                 Jazmin Garcia-Smith         LaShayla Simpson                 Melissa Florio                         Brian Wo odard
          Sr Asst Dir                                 Temporary (16)                Sr Asst Dir                  Events                   Applications Specialist                 Admissions Counselor
             EPA
                                                 L        EPA                          EPA                        SPA                              SPA                       .            SPA


         Ni-Eric Perkins                             Yolanda Coleman             Admissions Reps             Andrew Parrish                   Larry Helmer                            Yolanda Keith
           Sr Asst Dir                                   As Dir                   Temporary (4)                Sr Asst Dir                Applications Specialist                 Sr As Dir, Car Corps
              EPA                                          EPA                        SPA                         EPA                              SPA                                    EPA


         Jeri Kretchmar                               Barkley Barton              Damon Toone                Ashley Memoiy                   Missy Pyecha                              Eric Smith
           Sr Asst Dir                (--                As Dir                    SrAs Dir           '--      SrAs Dir                    Human Resources                        Admissions Counselor
               EPA                                         EPA                       EPA                          EPA                            SPA                                      SPA


        Hilda Stephens                                Emma Robinson                 Patty Baum                 Julie Tucker                  Howard Hayes                           Meredith Allred
         Stu Svcs Mgr                                  Transfer Credit    H-         Asst Dir                    Asst Dir         -H            Budget                            Admissions Counselor --i
              SPA                                           SPA                        EPA                         EPA                           SPA                                      SPA
                           j
       Michael Hamilton                                 VACANT                     Melody Levy              Allie Treske Ahearn            Jennifer Thompson          .             College Advisers
        Stu Svcs Mgr                      ----        Research Asst       H         Asst Dir                       Asst Dir       -H        Stu Svcs Asst IV        -H             Carolina Corps (41)
            SPA                                           SPA                         EPA                           EPA                           SPA                               EPATemporary


                                                         VACANT                  Melissa Kotarika           Helen Suitt-Carter               Ashley Arthur
         Penny Majors                 L...._         Transfer Evaluator              As Dir                 Stu Svcs Asst IV               Executive Assistant      --H
                                                                                                                                  --- j
        Stu Svcs Asst IV                              Temporary EPA                    EPA                        SPA                             SPA
              SPA


                                                                                 Melvin McDermott              Arbra Cates                     Jen Drake
         Lauralee Long                       Altavese Alston              ---         Asst Dir               Sic Svcs Asst lV               Business Analyst
        Stu Svcs Asst IV        -----        Stu Svcs Asst IV                           EPA                        SPA                            SPA
              SPA                                  SPA

                                                                                     VACANT                  Yolanda Arroyo
         Rose Pearson                        Tawanja McGill               H-         Asst Dir                Stu Svcs Asst IV     ----       Oman Dennis                         VACANT
        Stu Svcs Asst IV        --4          Stu Svcs Asst IV                          EPA                         SPA                      Business Analyst              Univ Program Specialist
              SPA                                 SPA                                                                                             SPA                              SPA

                                                                                     VACANT


C
        Yolanda McClain
        Stu Svcs Asst IV              j      Alfreda Johnson
                                             Stu Svcs Asst IV
                                                                          ---
                                                                                     Asst Dir
                                                                                       EPA
              SPA                                  SPA
z
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